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                                                       Entered on Docket
                                     5October 03, 2022
                                 ___________________________________________________________________
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                                                           Litigation Finance Fund International SP
                                                      14
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                      15
                                                                                              DISTRICT OF NEVADA
                                                      16
                                                           In re:
                                                      17                                                       Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                   Chapter 7
                                                      18
                                                                                 Debtor.                       Adversary Case No. 21-01167-abl
                                                      19

                                                      20   HASELECT-MEDICAL RECEIVABLES                         ORDER GRANTING PLAINTIFF’S
                                                           LITIGATION FINANCE FUND                              EX PARTE MOTION TO EXCEED
                                                      21   INTERNATIONAL SP,                                    PAGE LIMIT PURSUANT TO LR
                                                                                                                  9014(E) RE: OPPOSITION TO
                                                      22                         Plaintiff,                     TECUMSEH-INFINITY MEDICAL
                                                                                                                   RECEIVABLE FUND, LP’S
                                                      23   v.                                                       MOTION FOR PARTIAL
                                                                                                                 SUMMARY JUDGMENT AS TO
                                                      24   TECUMSEH–INFINITY MEDICAL                                  DIRECT PURCHASE
                                                           RECEIVABLES FUND, LP,                                         RECEIVABLES
                                                      25
                                                                                Defendant.
                                                      26

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                                                       1   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       2
                                                                                Counter-Claimant,
                                                       3
                                                           v.
                                                       4
                                                           HASELECT-MEDICAL RECEIVABLES
                                                       5   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                       6
                                                                                 Counter-Defendant.
                                                       7

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                                                           HASELECT-MEDICAL RECEIVABLES
                                                       9   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      10
                                                                                 Counter-Claimant,
                                                      11
              1731 Village Center Circle, Suite 150




                                                           v.
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                           TECUMSEH–INFINITY MEDICAL
                        (702) 471-7432




                                                      13   RECEIVABLES FUND, LP,
                                                      14                         Counter-Defendant.
                                                      15
                                                                  The Court, having reviewed and considered Plaintiff HASelect-Medical Receivables
                                                      16
                                                           Litigation Finance Fund International SP (“Plaintiff” or “HASelect”) Ex Parte Motion to Exceed
                                                      17
                                                           Page Limit Pursuant to LR 9014(e) Re: Opposition to Motion for Partial Summary Judgment as to
                                                      18
                                                           Direct Purchase Receivables (the “Ex Parte Motion”), and good cause appearing therefore:
                                                      19
                                                                  IT IS HEREBY ORDERED that the Ex Parte Motion is GRANTED, and HASelect may file
                                                      20
                                                           its Opposition in excess of the page limits in LR 9014(e) to include a maximum of up to thirty-five
                                                      21
                                                           (35) pages of factual and legal analysis and arguments.
                                                      22
                                                                  IT SO ORDERED.
                                                      23

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                                                       1   Prepared and Submitted By:
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